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                                                                                                                                                  J. Martin Futrell
                                        WITH~RITE
                                        LAW G RCS U P                                                                         Phone: X470} 881-8804
                                                                                                                                 Fax: (470) 881-8819
                                                                                                             E-mail: martin.futrell@witheritelaw.com

                                                                                      May 22, 2020



                                                                                               CMRRR# 9214 8969 0099 9790 1633 7225 71

             Attn: Betsy Duncan
             American Hallmark Insurance
             P.O.Box 166002
             Altamonte Springs, FL 32716

                         Re:            Our Client:                   Jerome Johnson, Jr.
                                        Your Insured:                 Chaser, LLC
                                        Insured Driver                Eugene Freeman
                                        Claim No:                     STAH19120066 ~
                                        Date of Loss:                 1211012019

             Dear Ms. Duncan:

                    We represent Jerome Johnson, Jr. for personal injuries resulting from an automobile collision
             occurring on 1211012019 with your insureds, Chaser, LLC and Eugene Freeman. This offer to settle is
             made pursuant to O.C.G.A. § 9-11-67.1 and O.C.G.A. § 51-12-14.

             LIABILITY:

                     A commercial driver has a responsibility to drive defensively and follow the rules of the road —
             safety rules that are in place to prevent crashes such as this one and protect the public. ~n 1211012019,
             Eugene Freeman failed to keep a proper lookout when chaning lanes, crashing into Jerome's vehicle and
             placing all motorists in Atlanta, GA in danger.

             POLICE INVOLVEMENT:

                     Officer G. Williams with the Dekalb County Police Department was dispatched to Bouldercrest
             Rd. and I-285 in Atlanta, GA. After completing his investigation, officer Williams cited Euguene Freeman,
             the driver of Unit/Vehicle 1, for failing to yield the right of way.


PARTIES
TYPE          PAR"~'Y NAME
                                                                                               On Apri116, 2020, Eugene Freeman
~EFE►iDAr~    F~      r~, ElJ~iE11E J
RLAIfJT1~F    STATE Q~ GEORGIA
                                                                                                         plead guilty.


CHARGES
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Our Client: Jerome Johnson, Jr.
Claim No: STAH19120066
Date of Loss: 12/70/2079
Pg. 2




        We have reviewed Chaser LLC's FMCSA SAFER profile. There were multiple violations for
dangerous driving/speeding as well as for hours of service. If we learn that Eugene was operating while
fatigued or distracted by some type of electronic device in his cab or was intentionally rushing to make a
pick-up or drop-off, we will be entitled to and will seek an award of punitive damages.

INJURIES &MEDICAL TREATMENT:

        As a direct result of Eugene Freeman's neglence, Jerome's vehicle was destroyed forcing him to
pay for a rental. In addition, he suffered injuries that required medical attention and causing him to miss
time from work




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Our Client: Jerome Johnson, Jr,
Claim No: STAH191200fi6
Date of Loss: 12/10/2019
Pg. 3




        On December 12, 2019, Jerome had an initial evaluation with Dr. Michael Frady, D.0 of Piedmont
Injury &Rehab Center. While being evaluated, Dr. Frady noted that Jerome's pain limited his range of
motion throughout his cervical and lumbar spine. After his evaluation Dr. Frady started Jerome on a
conservative theray plan and referred him to Onyx Imaging for MRI's of his cervical and lumbar spine.

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Onyx Imaging, LLC
            1120120: Positive Findings for Jerome's MRI of the Cervical Spine:
            • C2-C3, annular bulge of the intervertebral disc
            • C3-C4, posterior bulge of the intervertebral disc effacing the central aspect of the theca) sac
               and indenting the central aspect of the cervical spinal cord.
            • C4-05, posterior bulge of the intervertebral disc
            • C6-C7, posterior bulge of the intervertebral disc effacing the ventral aspect of the theca) sac
            • C7-T1, posterior herniation of the intervertebral disc with right neural foramina) stenosis
            • Straightening of the cervical spine


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Our Client: Jerome Johnson, Jr.
Claim No: STAH19120066
Date of Loss: 12/10/2079
Pg. 4




           1120120: Positive Findings for Jerome's MRI of the Lumbar Spine:
           • L5-S1, posterior herniation of the intervertebral disc with the protrusion extending
              posterolateral to the left into the left neural foramen with moderate left stenosis and mild right
              neural foramina) stenosis
           • L4-L5, anterior spurring and a posterior bulge of the intervertebral disc with mild bilateral
              neural foramina) stenosis

       On January 25, 2019, Jerome reviewed his MRI findings with Dr. Frady who recommended he
see a pain management specialist. On January 30, 2019, Jerome followed up with Dr. Peter Fong of
Regional Medical Group, LLC who noted his ongoing pain and associated symptoms.                  Because
conservative had failed Jerome, Dr. Fong ordered and performed bilateral steroid injection to his cervical
and lumbar spine.

LOST WAGES:

        Prior to this wreck, Jerome was working full time for the United States Postal Service. As a result
of this wreck Jerome was unable to perform his job duties forcing him to miss significant time from work.
His total lost wages as a result of this wreck are $3,984.25.

           Enclosed you will find a copy of Jerome's specials. His summary is as follows:

                     Piedmont Injury &Rehab Center                                $7,179.00
                     Onyx Imaging                                                 $4,202.00
                     Regional Medical Group                                       $17,414.00
                     Rental                                                       $214.41
                     Lost Wages                                                   $3,984.25

                                                                  TOTAL           $32,993.66

        We have authority to make the following offer to resolve and otherwise settle Jerome Johnson,
Jr. claims: In exchange for the amount of $330,000.00 of monetary payment, Jerome Johnson, Jr. will
execute a limited release of Chaser, LLC and Eugene Freeman pursuant to O.C.G.A. § 33-24-41.1 of all
bodily injury claims by Jerome Johnson, Jr. This offer must be accepted within thirty (30) days from
receipt. If the offer is accepted, payment must be made within fourteen days after written acceptance of
the offer.

                                                    Sincerely,


                                                                          ~~
                                                    J. Martin Futrell

JMF/jaz
Enclosures




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